Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 1 of 11




         Exhibit A
                          Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 2 of 11


                               US Court Appointed Temporary Receivership - Link Motion Inc. Accounting
                                                                        Date of Invoice
                                                  Time period services  or Date funds
                                                rendered and completed      received       Receipts      Expenses       Exhibit

     Invoice - Seiden Law Group LLP, including
1    the Court Appointed Receiver, his counsel
     and staff                                 February 1-28, 2019          2/28/2019                     (96,767.40)     D
2    Invoice - Kobre & Kim Hong Kong           February 2019                3/20/2019                    (124,577.55)     E
     Invoice - Seiden Law Group LLP, including
3    the Court Appointed Receiver, his counsel
     and staff                                 March 1-31, 2019             3/31/2019                     (84,801.19)     D

4    Invoice - Jianfeng Li (Frank) [Professional   February 4 - March 31,
     Interpreter]                                  2019                     3/31/2019                     (36,460.00)     G
     Funds recovered from Link Motion, Inc. US
5    (Texas office) held at CitiBank branch in
     Texas                                                                   4/2019          1,373.32                     B

6    Invoice - Jianfeng Li (Frank) [Expert
     /Translator/Interpreter]                      April 1-30, 2019         4/30/2019                     (36,288.00)     G

7    Funds recovered from Link Motion Inc.
     Hong Kong                                                              4/10/2019      181,808.88                     B

8    Funds recovered from Link Motion
     International Ltd Hong Kong                                            4/23/2019      173,214.65                     B

     Invoice - Seiden Law Group LLP, including
9    the Court Appointed Receiver, his counsel
     and staff                                 April 1 - May 8, 2019        5/8/2019                      (97,877.50)     D
     Funds recovered from Apple Inc (business
10
     application revenue)                                                   6/10/2019      110,952.01                     C

                                                                      1
                         Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 3 of 11



11
     Invoice - Kobre & Kim Hong Kong             March 1 - May 31, 2019   8/9/2019                 (108,308.63)   E
   Invoice - Seiden Law Group LLP, including
12 the Court Appointed Receiver, his counsel
   and staff                                 May 9 - June 21, 2019        6/25/2019                 (96,467.50)   D
   Funds recovered from FL Mobile Inc Hong
13
   Kong (from WFOE's SCB account)                                         7/8/2019     15,171.44                  B

14 Funds recovered from DAPP Hong Kong
   (business application revenue)                                         7/8/2019    195,581.25                  C
     Invoice - Seiden Law Group LLP, including
15   the Court Appointed Receiver, his counsel
     and staff                                 June 22 - July 30, 2019    7/30/2019                (101,459.00)   D

16   Funds recovered from Facebook Ireland Ltd
     (business application revenue)                                       8/27/2019   105,265.29                  C

   Payment sent to the Supreme Peoples Court
17 of China (fee for service of process under
   the Hague Convention)                                                  9/6/2019                   (1,295.00)   D
18                                                                                                                E
   Invoice - Kobre & Kim Hong Kong               June 2019                 8/9/2019                 (49,638.28)
19 Invoice - Kobre & Kim Hong Kong               July 2019                8/22/2019                 (45,912.18)   E
20 Invoice - Kobre & Kim Hong Kong               August 2019              9/24/2019                 (12,812.17)   E
   Invoice - Seiden Law Group LLP, including
21 the Court Appointed Receiver, his counsel
   and staff                                 July 31 - Sept 22, 2019      10/7/2019                (168,322.27)   D

22 Invoice - Jianfeng Li (Frank) [Expert
   /Translator/Interpreter]                      May 1 - May 31, 2019     5/31/2019                 (13,360.00)   G




                                                                 2
                         Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 4 of 11



23 Invoice - Jianfeng Li (Frank) [Expert
   /Translator/Interpreter]                    June 1 - July 31, 2019   7/31/2019                        (12,520.00)   G

24   Funds recovered from Google LLC
     (buisenss application revenue)                                     10/29/2019       1,392,421.81                  C

   Invoice - Seiden Law Group LLP, including
25 the Court Appointed Receiver, his counsel September 23 - November
   and staff                                 11, 2019                   11/11/2019                      (196,588.24)   D

26 Invoice - Jianfeng Li (Frank) [Expert       August 1 - October 30,
   /Translator/Interpreter]                    2019                     11/12/2019                        (3,772.00)   G

27 Funds recovered from Facebook Ireland Ltd
   (business application revenue)                                       11/21/2019         16,155.70                   C
28 Invoice - Kobre & Kim Hong Kong             September 2019           10/14/2019                       (17,083.58)   E

29 Funds recovered from Facebook Ireland Ltd
   (business application revenue)                                       12/23/2019           7,596.63                  C

   Invoice - Seiden Law Group LLP, including
30 the Court Appointed Receiver, his counsel November 12 - December
   and staff                                 31, 2019                   12/31/2019   .                  (187,171.66)   D

31
     Invoice - Kobre & Kim Hong Kong           October 2019             12/2/2019                        (12,456.82)   E
32
     Invoice - Kobre & Kim Hong Kong           November 2019            12/23/2019                        (6,338.11)   E

     Invoice - Seiden Law Group LLP, including
33   the Court Appointed Receiver, his counsel
     and staff                                 January 1-31, 2020       1/31/2020                       (133,863.51)   D



                                                                 3
                         Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 5 of 11



34
     Invoice - Kobre & Kim Hong Kong           December 2019              2/3/2020               (1,280.29)   E

   Invoice - Seiden Law Group LLP, including
35 the Court Appointed Receiver, his counsel
   and staff                                 February 1-29, 2020          2/29/2020            (112,760.36)   D

   Invoice - Seiden Law Group LLP, including
36 the Court Appointed Receiver, his counsel
   and staff                                 March 1-31, 2020             3/31/2020             (69,175.89)   D

37
     Invoice - Kobre & Kim Hong Kong           February 2020              4/8/2020               (1,545.00)   E

   Invoice - Seiden Law Group LLP, including
38 the Court Appointed Receiver, his counsel
   and staff                                 April 1-30, 2020             4/30/2020             (65,311.09)   D

   Invoice - Seiden Law Group LLP, including
39 the Court Appointed Receiver, his counsel
   and staff                                 May 1-31, 2020               5/31/2020            (173,168.14)   D

   Invoice - Seiden Law Group LLP, including
40 the Court Appointed Receiver, his counsel
   and staff                                 June 1-30, 2020              6/30/2020             (74,390.02)   D

41   Invoice - KSG Attorneys at Law Cayman
     Islands                                   June 2020 (Invoice 4803)   6/11/2020              (5,914.63)   H

     Invoice - Seiden Law Group LLP, including
42   the Court Appointed Receiver, his counsel
     and staff                                 July 1-31, 2020            7/31/2020            (148,246.63)   D




                                                                 4
                         Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 6 of 11




43 Invoice - Weiyi Zhu (Expert Translator for
   LKM Hong Kong Arbitration Proceedings        August 2020               7/24/2020                       (1,600.00)   G

44   Payment to HKIAC panel for LKM Hong
     Kong Arbitration Proceedings               July-August 2020           9/3/2020                     (10,000.00)    F
     Invoice - Seiden Law Group LLP, including
45   the Court Appointed Receiver, his counsel
     and staff                                 August 1-31, 2020          8/31/2020                     (73,104.95)    D

46 Payment to HKIAC panel for LKM Hong
   Kong Arbitration Proceedings                 July-August 2020          10/1/2020                       (5,000.00)   F

     Invoice - Seiden Law Group LLP, including
47   the Court Appointed Receiver, his counsel
     and staff                                 September 1-30, 2020       9/30/2020                     (78,482.50)    D

48   Invoice - KSG Attorneys at Law Cayman      September 2020 (Invoice
     Islands                                    5386)                     10/1/2020                       (8,076.86)   H

   Invoice - KLC Corporate Advisory and
49 Recovery Limited Hong Kong (Hong Kong March 1, 2019 - June 30,
   Court Appointed Co-Receiver)          2020                             11/13/2020                   (207,145.00)    E


50 Funds recovered from PAYPAL (LKM
   business application revenue)                                          12/22/2020      5,015.11                     C

                                                                                       2,204,556.09   (2,679,341.95)




                                                                   5
                        Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 7 of 11




    OUTSTANDING AMOUNT OWED
    RECEIVERSHIP AS OF SEPTEMBER
    30, 2022 [Kobre & Kim Hong Kong
    $104,952.61, KLC Corporate Advisory
    and Recovery Limited Hong Kong
    $207,145.00 and Seiden Law Group LLP
    $362,688.25]                                                                              (474,785.86)




   Invoice - Seiden Law Group LLP, including
51 the Court Appointed Receiver, his counsel
   and staff                                 October 1-31, 2020        10/31/2020              (48,212.50)   D

52 Invoice - KSG Attorneys at Law Cayman     October 2020 (Invoice
   Islands                                   5633)                     11/9/2020                (1,920.00)   H

   Invoice - Seiden Law Group LLP, including
53 the Court Appointed Receiver, his counsel
   and staff                                 November 1-30, 2020       11/30/2020              (55,490.00)   D

54 Invoice - KSG Attorneys at Law Cayman     November 2020 (Invoice
   Islands                                   5838)                     12/7/2020                  (840.00)   H

55 Invoice - KSG Attorneys at Law Cayman     September 2021 (Invoice
   Islands                                   7721)                     10/14/2021               (4,850.00)   H

56 Invoice - Maples and Calder Hong Kong
   LLP (LKM Registered Agent)                2022 Registration Fees    12/9/2021                (3,109.51)   H
   Invoice - Seiden Law Group LLP, including
57 the Court Appointed Receiver, his counsel
   and staff                                 December 1-31, 2020       12/31/2020               (9,177.50)   D


                                                              6
                         Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 8 of 11



   Invoice - Seiden Law Group LLP, including
58 the Court Appointed Receiver, his counsel
   and staff                                 January 1-31, 2021      1/31/2021                  (1,130.00)   D

   Invoice - Seiden Law Group LLP, including
59 the Court Appointed Receiver, his counsel
   and staff                                 February 1-28, 2021     2/28/2021                 (10,092.50)   D

   Invoice - Seiden Law Group LLP, including
60 the Court Appointed Receiver, his counsel
   and staff                                 March 1-31, 2020        3/31/2021                  (5,987.50)   D

   Invoice - KLC Corporate Advisory and
61 Recovery Limited Hong Kong (Hong Kong July 1, 2020 - March 31,
   Court Appointed Co-Receiver)          2022                        4/22/2022                 (28,449.00)   E

   Invoice - Seiden Law Group LLP, including
62 the Court Appointed Receiver, his counsel
   and staff                                 April 1-30, 2021        4/30/201                   (3,600.00)   D

   Invoice - Seiden Law Group LLP, including
63 the Court Appointed Receiver, his counsel
   and staff                                 May 1-31, 2021          5/31/2021                   (630.00)    D

     Invoice - Seiden Law Group LLP, including
64
     the Court Appointed Receiver, his counsel
     and staff                                 June 1-30, 2021       6/30/2021                  (7,857.50)   D

   Invoice - Seiden Law Group LLP, including
65 the Court Appointed Receiver, his counsel
   and staff                                 July 1-31, 2021         7/31/2021                 (44,792.50)   D




                                                                 7
                         Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 9 of 11



     Invoice - Seiden Law Group LLP, including
66
     the Court Appointed Receiver, his counsel
     and staff                                 August 1-31, 2021      8/31/2021                (36,315.00)   D

     Invoice - Seiden Law Group LLP, including
67   the Court Appointed Receiver, his counsel
     and staff                                 September 1-30, 2021   9/30/2021                 (5,732.50)   D
     Invoice - Seiden Law Group LLP, including
68   the Court Appointed Receiver, his counsel
     and staff                                 October 1-31, 2021     10/31/2021                (2,577.50)   D
   Invoice - Seiden Law Group LLP, including
69 the Court Appointed Receiver, his counsel
   and staff                                 November 1-30, 2021      11/30/2021                (3,205.00)   D

   Invoice - Seiden Law Group LLP, including
70 the Court Appointed Receiver, his counsel
   and staff                                 December 1-31, 2021      12/31/2021               (28,288.51)   D
   Invoice - Seiden Law Group LLP, including
71 the Court Appointed Receiver, his counsel
   and staff                                 January 1-31, 2022       1/31/2022                (16,011.00)   D
     Invoice - Seiden Law Group LLP, including
72   the Court Appointed Receiver, his counsel
     and staff                                 February 1-28, 2022    2/28/2022                (18,568.50)   D

     Invoice - Seiden Law Group LLP, including
73
     the Court Appointed Receiver, his counsel
     and staff                                 March 1-31, 2022       3/31/2022                (58,038.50)   D




                                                                  8
                        Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 10 of 11



   Invoice - Seiden Law Group LLP, including
74 the Court Appointed Receiver, his counsel
   and staff                                 April 1-30, 2022        4/30/2022                       (7,128.00)   D

     Invoice - Seiden Law Group LLP, including
75   the Court Appointed Receiver, his counsel
     and staff                                 May 1-31, 2022        5/31/2022                       (4,788.00)   D

     Invoice - Seiden Law Group LLP, including
76   the Court Appointed Receiver, his counsel
     and staff                                 June 1-30, 2022       6/30/2022                       (8,676.50)   D

     Invoice - Seiden Law Group LLP, including
77
     the Court Appointed Receiver, his counsel
     and staff                                 July 1-31, 2022       7/31/2022                     (11,001.50)    D
   Invoice - Seiden Law Group LLP, including
78 the Court Appointed Receiver, his counsel
   and staff                                 August 1-31, 2022       8/31/2022                       (6,715.00)   D

   Invoice - Seiden Law Group LLP, including
79 the Court Appointed Receiver, his counsel
   and staff                                 September 1-30, 2022    9/30/2022                     (35,294.50)    D
     Invoice - Seiden Law Group LLP, including
80   the Court Appointed Receiver, his counsel
     and staff                                 October 1-31, 2022    10/31/0222                    (35,105.50)    D

     Invoice - Seiden Law Group LLP, including
81   the Court Appointed Receiver, his counsel
     and staff                                 November 1-17, 2022   11/17/2022                     (48,747.50)   D
                                                                                          0.00     (552,331.52)
     TOTAL                                                                        2,204,556.09   (3,231,673.47)



                                                                 9
                 Case 1:18-cv-11642-VM-VF Document 376-1 Filed 11/18/22 Page 11 of 11


OUTSTANDING AMOUNT OWED
RECEIVERSHIP AS OF NOVEMBER
17, 2022 [Kobre & Kim Hong Kong
$104,952.61, KLC Corporate Advisory
and Recovery Limited Hong Kong
$235,594.00, KSG Attorneys at Law
Cayman Islands $7,610.00 and Seiden
Law Group LLP $878,960.77]                                                              (1,027,117.38)




                                                  10
